Case 7:21-cv-05052-KMK Document1 Filed 06/08/21 Page 1 of 4

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

XK Civil Action
RITA INTRIAGO,
Case No.:
Plaintiff,
-against- NOTICE OF REMOVAL

BEST BUY CO., INC.,

Defendant.

x

 

Defendant, BEST BUY CO., INC. (“Best Buy”) by its attorneys, FISHMAN
McINTYRE LEVINE SAMANSKY P.C., respectfully petitions the United States District
Court, Southern District of New York, upon information and belief, as follows:

L This case was originally commenced on or about September 14, 2020 in the
Supreme Court of the State of New York, County of Orange. The suit is identified in the
Supreme Court as Rita Intriago v. Best Buy (Store #461), Best Buy Co., Inc. and
Middletown Crystal Rt 17 LLC, Index Number 005099/2020. A true copy of plaintiff's
Summons and Verified Complaint is cumulatively annexed hereto as Exhibit A.

2 Best Buy first received notice of plaintiff's Summons and Complaint on or about
October 8, 2020. See Exhibit B.

3s The grounds for removal are based on the original jurisdiction of this Court under
28 U.S.C. § 1332, which allows this court to hear matters based on diversity of
citizenship of the parties. Best Buy filed an Answer to the plaintiff's Complaint in the
Supreme Court, the State of New York, County of Orange on October 19, 2020. A true
copy is annexed hereto as Exhibit C.

4. Plaintiff's Complaint in the Supreme Court of the State of New York, County of

Orange, asserts monetary damages relating to personal injuries in a non-specified amount.

1
Case 7:21-cv-05052-KMK Document1 Filed 06/08/21 Page 2 of 4

However, plaintiff specifically claims that as a result of the incident complained of therein,
plaintiff “was caused to sustain severe and serious personal injuries to her mind and body. . .
.” (See Exhibit A, paragraph 37).

5. At or about the time Best Buy filed an answer to plaintiff's Complaint, Best Buy
served upon plaintiff a number of discovery demands, including a demand for a statement of
damages pursuant to C.P.L.R. 3017.

6. By way of supplemental response to Best Buy’s demand for a statement of damages,
plaintiffs counsel served upon the undersigned’s office, on May 10, 2021, a demand
whereby “plaintiff deems herself entitled to an amount of one million dollars ($1,000,000)”
in damages”. See Plaintiff's “supplemental Response to Demand for Damages”, annexed
hereto as Exhibit D.

7. Based upon the foregoing, there can be no doubt that the amount in controversy
herein exceeds $75,000.00, exclusive of interest and costs.

8. This notice of removal is filed within 30 days of plaintiff's damage disclosure served
on Best Buy’s counsel’s office on May 10, 2021.

9. On or about October 19, 2021, Best Buy served upon plaintiff's counsel a Request to
Admit, namely that plaintiff admit that as of the time of the within cause of action arose, that
is, the date of her accident, plaintiff was a citizen of the state of New York. A copy of said
Request to Admit is attached hereto as Exhibit E.

10. Plaintiff failed to respond to Best Buy’s Request to Admit. Pursuant to CPLR
3123(a), the demand is deemed to have been admitted if not responded to within 20 days of
service of the demand. Thus, by means of plaintiffs non-response to Best Buy’s Request to

Admit, plaintiff has admitted she is a citizen of the State of New York as of the date of the
Case 7:21-cv-05052-KMK Document1 Filed 06/08/21 Page 3 of 4

subject accident.

11. Indeed, in plaintiff's Complaint (at paragraph 1), she admits to being a resident of
the State of New York as of the time of the cause of action herein arose. Thus, plaintiff was
a citizen of the State of New York as of the time her cause of action arose.

12. As a result of a motion to dismiss filed by Best Buy in the Supreme Court of New
York, County of Orange, heard and decided by the Hon. Sandra B. Sciortino, J.S.C. on May
27, 2021, defendants, Best Buy (Store #461) and Middletown Crystal Rt 17 LLC, were
dismissed from this within action with prejudice."

13. Best Buy Co., Inc. is a corporation, incorporated in the State of Virginia, with its
principal place of business in Richfield, Minnesota.

14. Based upon the foregoing, complete diversity of citizenship exists. Plaintiff is a
citizen of the State of New York. On the other hand, Best Buy Co., Inc. (i.e., the sole
remaining defendant in the within action) is a foreign business corporation, incorporated
in the State of Minnesota and having its principal place of business in Minnesota.
Therefore, this action is between a citizen of the State of New York (plaintiff) and a
corporation other than New York, defendant, Best Buy Co., Inc.

15. Written notice of the filing of this Notice of Removal has been given to all parties in
accordance with 28 U.S.C. §1446(d), as evidenced in the annexed Certificate of Service.

16. | Promptly after filing this Notice with the Court and the assignment of a civil docket
number, a copy of this Notice will be filed with the Supreme Court of the State of New

York, County of Orange, in accordance with 28 U.S.C. §1446(d).

 

! A fully executed and so-ordered partial stipulation of discontinuance with prejudice in
favor of Best Buy (Store #461) and Middletown Crystal Rt 17 LLC is pending and will
be submitted to this Court when available.
Case 7:21-cv-05052-KMK Document1 Filed 06/08/21 Page 4 of 4

WHEREFORE Petitioner, BEST BUY CO. INC., the final remaining active defendant in
the action described herein now pending the Supreme Court of the State of New York,
County of Orange, under Index No. 005099/2020, prays that this action be removed
therefrom to this Honorable Court.

Dated: New York, New York
June 8, 2021

Yours etc.,

gf?
Mitchell B. Levine, Esq.
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